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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

   ASHLEY MOODY and AUTUMN TERRELL,
   on behalf of themselves and on behalf of
   all others similarly situated,

          Plaintiffs,

   v.                                                                   Case No.: 16-60364-WPD

   ASCENDA USA INC. d/b/a 24-7 INTOUCH,
   and VERIFIED CREDENTIALS, INC.,

         Defendants.
   ____________________________________/

                    PLAINTIFFS’ STATUS REPORT REGARDING
        DISTRIBUTION OF SETTLEMENT FUNDS TO ASCENDA CLASS MEMBERS

          Plaintiffs Ashley Moody and Autumn Terrell, by Counsel, submit this Status Report to

   apprise the Court of an agreed reduction in the attorneys fees approved and ordered in order to

   increase the amount to be distributed to members of the Disclosure Form Settlement Class and the

   Pre-Adverse Action Notice Subclass. (See Doc. 113 ¶ 4.)

          The Court granted preliminary approval to the settlement with Ascenda on October 24,

   2017, approving form notices to be provided to members of both the Class and Subclass. (Doc.

   101.) The Court granted final approval to the settlement on March 12, 2018, finding among other

   things that the notice provided to the Class and Subclass satisfied due process. (Doc. 113 ¶ 7.) The

   notices apprised Class and Subclass Members of the approximate amounts that they stood to

   receive from the Settlement Fund—$60 for the Disclosure Form Class, and $60 for the Pre-

   Adverse Action Subclass. (See Ex. 1.) These figures depended upon several still open variables –

   principally, final number of class members with valid addresses.
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          After notice and without any class member objections, the Court approved an attorneys fee

   in accordance with the negotiated Settlement Agreement and totaling $363,000. However, when

   the class administrator this week determined the exact amounts of the checks to be distributed to

   members of the Class and Subclass, the Settlement Administrator advised Counsel for the Parties

   that members of the Disclosure Form Class would receive checks for $59.81, and members of the

   Pre-Adverse Action Subclass would receive $119.62.

          Class actions settlements often receive criticism for their failure to provide meaningful cash

   payments. Here, of course, this is not the case. However, Class Counsel believes that it would be

   a meaningful improvement, at modest cost, to increase the actual final check amounts to $60.00

   and $120.00, respectively.

          Plaintiffs’ Counsel proposes to raise these amounts by reducing Class Counsel’s court-

   approved attorneys’ fees of $363,000 by $2,200.00 and moving that amount to the class net

   payments. (See Doc. 113 ¶ 11.) Defendant Ascenda does not oppose this alteration to the

   Settlement Agreement and the Court’s Order of Final Approval.             The Class Administrator

   communicated today that this Notice to the Court would be necessary (for tax purposes) to properly

   effectuate this change.

          Class Counsel does not believe that additional notice to Class Members is necessary, as

   they will be receiving exactly what or more than was communicated to them in the Notices, and

   no Class Member objected to those amounts. (See Doc. 111 at 1.) All that may be required is for

   the Court to amend its Final Approval Order such that the amount paid for attorneys’ fees would

   be $360,800 ($363,000-$2,200). Should the Court agree, Plaintiffs attach a proposed Amended

   Order making that alteration. (Ex. 2.)




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        Dated this 20th day of April, 2018.


                                              Respectfully submitted,

                                              /s/Brandon J. Hill
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 20th day of April, 2018, I electronically filed the

   foregoing with the Clerk of Court using the CM/ECF system, which will send a notification of this

   filing to:

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                                               /s/Brandon J. Hill
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